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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
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      ORLANDO GARCIA,
11                                               Case No. 2:20-CV-08421-AB (AGRx)
12                    Plaintiff,

13    v.                                         ORDER DISMISSING CIVIL ACTION
14    JINGILLE CHOIE; SINHAE CHOIE;
      SANG HYUN, in individual and
15    representative capacity as trustee of
      The Sang Han Family Trust dated
16    March 11, 1995; and Does 1-10,
17                    Defendants.
18
19         THE COURT having been advised by counsel that the above-entitled action has
20   been settled;
21         IT IS THEREFORE ORDERED that this action is hereby dismissed without
22   costs and without prejudice to the right, upon good cause shown within 60 days, to re-
23   open the action if settlement is not consummated. This Court retains full jurisdiction
24   over this action and this Order shall not prejudice any party to this action.
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26
     Dated: October 30, 2020          _______________________________________
27                                    ANDRÉ BIROTTE JR.
28                                    UNITED STATES DISTRICT JUDGE

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